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y_.F,w . , ,

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CSD 1099 [12/01/16]
Name, Address, Telephone No. & l.D. No.

 

A\pine, cA mqu "`""1~§:)
Z`Uw JU'$l l ii
, @ ‘ P."l 2’ 35
)/1( '7/7'77/%\ ,,, y f 42
uNlTED sTATEs BANKRuPTcY couRT __ " . 'i -i 'r' i:

SOUTHERN DlSTRlCT OF CALlFORNlA
325 West F Street, San Diego, Califomia 92101-6991

 

ln Re

D`\omq do Newb\/ BANKRuPTCvNo. l%- O@i-l{q(@~w`l

Debtor.

 

 

BALANCE OF SCHEDULES, STATEMENTS, ANDIOR CHAPTER 13 FLAN

Presented are the original with the number of copies required by CSD 1800 Administrative Procedunes ofthe following
[Check one or more boxes as appropriate]:

E'* Schedu|es AlB - J
Statement of Financial Afl‘airs
Summary of Schedu|es (lncludes Statistical Summary of Certain Liabilities)
Summary of Your Assets and Liabilities and Certain Statistical lnfonnation Schedu|es
Chapter 7 Statement of Current Monthly lnoome
Chapter 7 Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
Chapter 7 Means Test Calcu|ation
Chapter 11 Statement of Your Current Monthly lncome
Chapter 13 Statement of Your Current Monthly lncome and Calculation of Commitment Period
Chapter 13 Calculation of Your Disposable lncome
Chapter 13 Plan
Schedule of Real and/or Persona| Property
Schedule of Property Claimed Exempt
Creditors Ho|ding Secured Claims by Property
E,_ Creditors Ho|ding Unsecured Priority and/or Non-priority C|aims:
l:l Schedule of Executory Contracts & Unexpired Leases
E- Schedu|e of Co-Debtors
m lnoome of lndividual Debtor(s)
Expenses of |ndividual Debtor(s)
Expenses for Separate Household of Debtor 2

EENEEEUEEEE@E

lf additional creditors are added at this time, the following are required:

 

 

 

1. E|ectronic media requiredl see CSD 1007, containing only the added names and addresses (when the Balance of

Schedu|es are filed on paper).
2. Local Forrn CSD1101,Notice to Creditors of This Debtor Added by Amendment or Balance of Schedules. See

instructions on reverse side.
Dated: Signed: ,, ,, __

’jAttoqfev'for Debtor
|[We] and , the debtor(s), hereby declare

under penalty of pen'urv that the information set forth in the balance of schedules and/or chapter 13 plan attached hereto.
consisting of pages, and on the creditor matrix, if any, is true and correct.

 

 

Da7:
b H/ y *Joint Debtor
* lf filed electi'oniwlly, pursuant to LB 5005-4( , the original debtor signature(s) in a scanned format is required (

CSD 1099 Refer to lnstructions on Reverse Side /$7 151 t

so wm mQ

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csD 1099 (Page 3) [12/01/161

3. Served by Personal Delivery, Faesimi|e Transmission or Electronic Mail:

Under Fed.R.Civ.P.5 and controlling LBR, on , l served the following person(s)
and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
transmission and/or electronic mail as follows:

l declare under penalty of perjury under the laws of the United States of America that the statements made in this
proof of service are true and correct.

 
 

Exe°"wd°" /”//3//%
(D§té)‘ /

  

yped Name and ignature

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(Addléés)

111 l/nl/IC (/l c((qO/

(clty, Sl£te, zlP code)

CSD 1099

CaSe 18-03476-LA7 Filed 06/14/18 Entered 06/15/18 15220259 DOC 13 PQ. 3 Of 39

Fill m this information to identity your Case'.
Debtor 1 Diana Jo Newby
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF CALlFORN|A

Case number 18_03486-LA7
(if known) m Check if this is an

amended filing

 

 

Ofticial Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical lnformation 12115

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original fomis, you must fill out a new Summary and check the box at the top of this page.

Summarize ¥our Assets

 

1. Schedule Ach Property (Ofticial Form 106A/B)
1a. copy ime 55, Toiai real esraie, from Scheduie A/B ................................................................................................ $ 835»454-°°
1b. Copy line 62, Tota| personal property, from Schedule AlB ..................................................................................... $ 36,265_45
1c. Copy line 63, Total of all property on Schedule A/B ............................................................................................... $ 872,719_45

msummarize Your Liabilities

 

 

2. Schedule D: Cneditors Who Have Claims Secumd by Property (Otticial Form 106D) 79
2a. Copy the total you listed in Column A, Amount ofclaim, at the bottom of the last page of Part 1 of Schedule D... $ 968’36°'

3. Schedule E/F.' Creditors Who Have Unsecured Claims (Ofticia| Form 106E/F) o
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ................................. 5 o' o
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 61 of Schedule E/F ............. . .............. $ 5,398.15

 

Your total liabilities $ 973,758.94

 

 

 

_Summarize Y'our lncome and Expenses

4. Schedule l: Your/ncome (thcial Form 106|)
Copy your combined monthly income from line 12 of Schedulel ................................................................................ $ 5’635'0°

5. Schedule J.' Your Expenses (Ofticia| Form 106J)

Copy your monthly expenses from line 22c of Schedule J .......................................................................... $ 8'158'1 7

mswer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 1, 11, or 13?
|j No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

- Yes
7. What kind of debt do you have?

. Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a persona|, family, or
household purpose." 11 U.S.C. § 101 (8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

n Your debts are not primarily consumer debts ¥ou have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Ofticial Form 1068um Summary of Your Assets and Liabilities and Certain Statistical lnformation page 1 of2

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Debtor 1 Diana Jo Newby Case number (if knOWn) 18-03486-LA7

 

 

8. me the Statement of Your Current Monthly lncome: Copy your total current monthly income from Ofncial Form 325 00
122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 1220-1 Line 14. $ '

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

     

 

9a. Domestic support obligations (Copy line Sa.) $ 0.00
9b. Taxes and certain other debts you owe the government (Copy line 6h.) $ 0_00
9c. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $ 0.00
9d. Student loans (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 69.) $ 0'°0
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0_00
Qg. Total. Add lines 9a through 9f. $ 0.00

 

 

 

Ofticial Form 1068um Summary of Your Assets and Liabilities and Certain Statistical lnformation page 2 of 2

CaSe 18-03476-LA7 Filed 06/14/18 Entered 06/15/18 15220:59 DOC 13 PQ. 5 Of 39

Fill in this information to identify yoi.ii' case and this filing:

Debtor1 Diana Jo Newby
Flrst Name Middle Name Last Name

 

Debtor 2
(Spouse, if tilirg) Flist Name Middie Name Last Name

 

United States Bankruptcy Cour‘t for ther SOUTHERN DlSTRlCT OF CALlFORN|A

 

case number 18-03486-LA7 L'.l check ifihis is an
amended filing

 

 

 

Ofticial Form 106A/B
Schedule AlB: Property wis

in each category, separately list and describe items. List an asset only once. lt an asset fits in more than one oategory, list the asset in the category where you
think lt fits best. Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, amch a separate sheet to this form. 0n the top of any additional pages write your name and ease number (if known).
Answer every question.

 

maurice Eacn nesidence, euiiding, Lanri, or other neal asme Y¢u own or i-iave an interest in

 

1. Do you own or have any legal or equitable interest in any residence building, land, or similar property!

n No. Go to Part 2.
- Yes, Where `is the property?

 

 

 

 

 

1,1 Whatistheproperty?checxailmaiapply b y _ y H__ , y _ _
1251 cam'"° Del Seq“an l SinQ\e-familv home ,Do mr dedu¢ise¢uréd ciai_mso'r exemptions nut ' 5
street address ir available or other description - 4 - 4 the amount of`any secured ciaims on;Sch`adr/ieD;

|'J Dup’ex °' m"m”"" b""d'"g "crediie'rs who wave claims securedby Pmpeny.» » 1
m Condominium or cooperative ~ y y ’ . `~`v 1 ~ _ .'
|:| Manufactured or mobile home
Current value of the Current value of the
Alpine CA 91901 -0000 ij Land entire properry.> portion you awn?
city san zlP code g investment properly $836,454.00 $836,454.00
m Tmeshare Describe the nature of your ownership interest
n Oth€' (such as fee simple, tenancy by the entimties, or
Who has an interest in the property? check one a me web 'f k“°"""-
- Debtor 1 only
San Diego L`.| Debinr 2 only
C°u"*v U Debiar l and Debior 2 only

Check if this is community property
m At least one of the debtors and another n (see insiructions)

Other infonnation you wish to add about this item, such as local
property identification number:

6 beds 3 baths 3,511 sqi't

 

 

2. Add the dollar value of the portion you own for allot your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here =>

asserle Your vehicles

Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. |f you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

5836,454.00

 

 

 

 

 

Ofiicial Form 106A/B Schedule A/B: Property page 1

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Who has an interest in the property? check one
- Dei!or1 only

Debtor 1 Diana Jo Newby
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
n No
l Yes
3_1 Mai<e; Dodge
Modei; Chal'ge"
Year: 2014

Appioximate mileage 72,497

Other information;

 

SRTB Sedan 4D
Localion: 1251 Camlno Del
Se¢luan, Alpine CA 91901

 

 

 

3.2 Make; Ford

 

 

 

 

n Debtor 2 only
D Debtor 1 and Debtor 2 only
n At least one cf the debtors and another

n check ifthis is community property
(see inmiions)

Who has an interest in the property? check one

Case number (r'fkrrown) 18-03486-LA7

connor deduct secured claims or"eirerr\pllnrrs§ Pui f:

the amount of any secured claims _on Scne'dwe D: '

'crédl'tors whonav:e_clarrns scarreil'bypr`o'perey »

Current value of the Current value of the
entire property? portion you cwn?
$24,755.00 $24,755.00

 

Do not deductsecured claimsor exemptions Put :`.
tlle'>arnomt'of any»secure`d claims_on Schend D: '

 

 

 

Modei: F150 l mme univ ownersth Ha`vejcrarr'rrs_ securedby Property -. -~
Year: 1999 n Debt°" 2 °"'V current value of the Current value of the
Appmximate mileage: 1 27,000 n Debtor 1 and Debior 2 oniy entire property? portion you own?
Ome' mf°'ma“°"i n At least one of the debtors and another
Regu|ar Cab, short bed
Location: 1251 Camino Del D check ifthls is community property $2,195.00 $2,195-00
Seguan, Alpine CA 91901 (”° *"S""°*"°"S?
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal walercran, iishing vessels, snowmobiles, motorcycle accessories
- No
n Yes
5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for 6 50 00
pages you have attached for Part 2. Write that number here => 52 '9 ‘

 

 

 

Describe Your Personal and Household items
Do you own or have any legal or equitable interest in~any of the following _i_tems? , _

€r. l-lousehold goods and iurnishings

Examples: Major appliances, fumiture, linens, china, kitchenware

El No
- Yes. Describe .....

 

l Current~va_lue of.the’_ ' ’
portion you'owrl?` ; g
_..»Do'notdeduc`tsecmed*"-

lciaims'~or_exemptions. "

 

 

 

Household goods and furnishings
Location: 1251 Camino Del Sequani Alpine CA 91901

$1 ,200.00

 

 

 

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

- No
U Yes. Describe .....

8. Col|ectibles of value

Examples: Antiques and ngurines; paintings, prints, or other artwork; books, pictures, or other an objects; stamp, coin, or baseball card ooilections;
other collections memorabilia, collectibies

l No
l:l ¥es. Describe .....

Oflicia| Form 106A/B

Schedu|e A/B: Property

page 2

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Debtor1 Diana Jo Newby Case number (ifknvwn) 18-03486-LA7

 

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercisel and other hobby equipment bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;

musical instruments
- No
[] Yes. Describe .....
10. Firearms
Examples: Pisto|s, ritles, shotguns, ammunition, and related equipment
- No
l:l Yes. Describe .....

11_ Clothes
Examples: Everyday clothes, furs, leather ooats, designer wear, shoes, accessories

n No
- Yes. Describe .....

 

Wearing apparel for 2 adults
Locatlon: 1251 Camino Del Sequan, Alpine CA 91901 560°-°0

 

 

 

 

12. Jewelry
Examples.' Everyday jewelry, costume jewelry, engagement rings, wedding rings, helrloom jewelry, watches, gems, gold, silver

['.'l No
- Yes. Describe .....

 

Wedding rings and miscellaneous jewelry
Locauon: 1251 camino Del sequan, Alpine cA 91901 $400-0°

 

 

 

 

13. Non-fam\ animals
Examples: Dogs, mts, birds, horses
L_.\ No

l Yes. Describe .....

 

1 dog and 1 cat (rescued)
Location: 1251 Camino Del Sequan, Alpine CA 91901 $0-00

 

 

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list
l No

m ¥es. Give specific information .....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. write that number here $2,200.00

 

 

 

 

-Descrlbe Your Financial Assets

,Do youownorhave~anylegalor__equitab|einterestinany»ofmefollowing?'"7 . -,  ~*j ', f ,Current,va,lueofthe;.~
; ~':.;-.-.`“ ;_q_. ` ,' `~ 7 ;. : »» :- ` ` portionyou`own?_$;:

w ‘;'-Donotdeducts_ecuredj!~"
" z .ctaim`s’orexemptions`. ~ b j

     

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition

- No
m Yes ................................................................................................................

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions lf you have multiple accounts with the same institution, list each.
Cl No

l Yes ........................ '"Smu"°" ""“"‘e:

Ofticial Form 106A/B Schedule Ale Property page 3

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Debtor1 Diana Jo Newby Case number {rrknown) 18.03436-LA7

San Diego County Credit Union joint

17.1_ Checking checking account ending in 7063 $1,117.24
ADDED:
Wells Fargo joint checking account ending in

17.2. Checking 0040 $86.42
ADDED:
San Diego County Credit union joint savings

17-3~ account endirLg in 0000 $4.21 1 .79

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples.' Bond funds, investment accounts with brokerage frrms, money market accounts

-No

El Yes .................. lnstitution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

-No

L_.l Yes. Give specific information about them ...................
Name of entity: % of ownership:

20. Govemment and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders
Non~negotiable instruments are those you cannot transfer to someone by signing or delivering them.

- No
U Yes. Give specific information about them
lssuer name:

21. Retirement or pension accounts
Examples: interests in lRA, ERlSA, Keogh, 401 (k), 403(b), thritt savings accounts, or other pension or profit-sharing plans

.No

n Yes. List each account separately.
Type of account lnstitution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples.' Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

- No
n Yesl _____________________ lnstitution name or individua|:

23_ Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
. No

|'_‘| Yes _____________ lssuer name and description

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
- No

[] Yes _____________ institution name and description_ Separately tile the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
- No
n Yes. Give specific information about them..4

26_ Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examplec: lntemet domain names, websites, proceeds from royalties and licensing agreements

-No

n ¥es. Give specitic information about them...

27_ Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licensesl cooperative association holdings, liquor licenses, professional licenses

- No
n ¥es. Give specific information about them...
Ofticial Form 106A/B Schedule A/B: Property page 4

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Debtor 1 Diana Jo Newby Case number (ifknown) 13.034,36.LA7
’Money'orpropertyowedtoyou?`_».- ~ " ` . , ~ - b Currentvarueorthe
. _ . _ .. . De`nerdeduetsecured »
ctaims or`exemptions.» ` '

28. Tax refunds owed to you
l No
m Yes. Give specific information about them, including whether you already nled the returns and the tax years .......

29. Family support
Examples: Past due or lump sum alimony, spousal support, chitd support, maintenance, divorce settlement, property settlement

. No
cl Yes. Give specinc information ......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers‘ compensation, Social Security
benefits; unpaid loans you made to someone else
- No

n Yes_ Give speciiic infom'ration..

31. |nterests in insurance policies
Examples.' Health, disability, or life insurance; health savings account (HSA); credit, homeowners or renter‘s insurance

UNo

- Yes. Name the insurance company of each policy and list its value.
Company name: Benehciary: Surrender or refund
value:

American lncome Life

Aocidental death policy insuring the

life of the Debtor's non-li|ing spouse.

No current cash value Diana J° Newby $0-0°

 

 

32. Any interest in property that is due you from someone who has died
lf you are the beneficiary of a living tmst, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has diedt

.No

El Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples' Accidents, employment disputes, insurance claims, or rights to sue

- No
El Yes. Describe each claim .........
34. Oiher contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
- No
El Yes. Describe each claim .........

35. Any financial assets you did not already list
- No
\:l Yes. Give specinc information..

 

36. Add the dollar value of all of your entries from Fart 4, including any entries for pages you have attached
for Part 4. Write that number here $5,41 5.45

 

 

 

 

wanda Any Business-Related Property ¥ou Own or Have an lnterest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
n Nor Go to Part 6.

. Yes. Go to line 38.

Official Form 106AIB Schedule AIB: Property page 5

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Debtor1 Diana Jo Newby Case number (ifknown) 18-03486-LA7

 

Current value of the "
oo»uot deduct moved ~}_
claims or exemptions `

38. Accounts receivable or commissions you already earned
- No
m Ves` Describe .....

39. Office equipment, fumishings, and supplies
Examples.' Business-related computersl soitware, modems, printers, copiers, fax machines, mgs, telephones, desks, chairs, electronic devices

- No
El Yes_ Describe .....

40_ Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

m No
l ¥es_ Describe .....

 

Scissors, blowdryer, curling iron and flat iron used in debtor's
business $200.00

 

 

 

 

41_ lnventory
- No
l:l Yes. Describe .....

42_ lnterests in partnerships or joint ventures
- No

El Yes. Give specific information about them ...................
Name of entity: % of cwnership:

43. Customer lists, mailing |ists, or other compilations

l No.
n Do your lists lnclude personally identifiable information (as defined in 11 U.S.C_ § 101 (41A))?

- No
n Yes. Describe .....

44_ Any business-related property you did not already list
- No

l:l Yes. Give specific information .........

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached 2 00
for Part 5. Write that number here s oo-

 

 

 

 

Descrlbe Any Farm- and Commarcial FishingJ!elated Property You Own or l-lave an lnterest ln.
lf you own or have an interest in farmland list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
- No. Go to Part 7.
E\ ves, ou to line 474

write All Property You Own or Have an lnterest in That You Did Not List Above

 

Official Form 106A/B Schedule A/B: Property page 6

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Debtor 1 Dlana Jo Newby ease number (i'k”°"") 18'°3486"LA7

 

53. Do you have other property of any kind you did not already list?
Exemples: Season tickets, country club membership

n No
l ¥es. Give specihc information .........

 

Deeded timeshare interest, Mammoth Lakes, Unit 17, Week 45, 2
bedroom $1,500.00

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here .................................... $1,500_00

must me rewis of each Part of this Form

 

 

 

 

 

 

55. Part 1: Total real estate, line 2 $836,454.00
56. Part 2: Total vehicles, line 5 $26,950.00

57. Part 3: Total personal and household items, line 15 $2,200_00

58. Part 4: Total financial assets, line 36 $5!415.45

59. Part 5: Total business-related property, line 45 $200_00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Tofal other property not listed, line 54 + $1!500.00

62. Total personal property. Add lines 56 through 61 $36,265.45 Copy personal property total $36,265_45
63. Total of all property on Schedule A/B. Add line 55 + line 62 $872,719.45

 

 

 

Oliicial Form 106A/B Schedule A/B: Property page 7

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Fill m th\s information to identify your case:

Debtor1 Diana Jo Newby
Flrst Name Middle Name Last Name

 

Debtor 2
(Spouse lt, tillng) Flrst Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF CALlFORN|A

 

Case number 18-03486-LA7
(ifkrw~n) [] Cheokifthisisan
amended tiling

 

 

 

Ofticial Form 1060
Schedule C: The Property You clalm as Exempt ms

 

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct information Using
the property you listed on Schedule A/B.' Property (Oflicial Form 106A/B) as your source, list the property that you claim as exempt. |f more space is
needed, till out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exeran you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Altematively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount

ldentify the Property ¥ou Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

- You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)

m You are claiming federal exemptions 11 U.S_C. § 522(b)(2)

   

      

_ edison

   

 

 

 

 

 

 

 

2014 Dodge Chal`gel" 72,497 miles 524 755 00 - s1 827 32 C.C.P. § 704.010
SRTB Sedan 40 ’ ` ' '

Location: 1251 Camino Del Sequan, m 100% affair market value, up to

Alpine CA 91901 any applicable statutory limit

Line from Schedule A/B: 3.1

1999 Fom Fiso 121,000 miles s2 195 00 - s1 222_68 c.c.P. § 104.010
Regular cab, short bed ’ ' ’

Location: 1251 Camino Del Sequan, U 100% affair market value, up to

Alpine CA 91901 any applicable statutory limit

Line from Schedule A/B: 3.2

Household goods and tumishings s1 200_00 - 51 200_00 C.C.P. § 704.020
Locatlon: 1251 Camino Del Sequan, ’ ’

Alpine cA 91901 El 100% affair market value up w

Line from Schedule A/B: 6.1 any applicable statutory limit

Wearing apparel for 2 adults 600 00 5600'00 C.C.P. § 704.020
Location: 1251 Camino Del Sequan, s ` -

Alpine CA 91901 n 100% affair market value, up to

Line from Schedule A/B: 1 1.1 any applicable statutory limit

 

Ofiicial Form 1060 Schedule C: The Property You Claim as Exempt page 1 012

CaSe 18-03476-LA7 Filed 06/14/18 Entel’ed 06/15/18 15220:59 DOC 13 PQ. 13 Of 39

 

 

Debtor`l Diana J0 Newb! Case number (if known) 18-03486-LA7

   
    
 

 

     

Weddlng rings and miscellaneous 5400_00 - C.C.P. § 704.040

 

 

 

 

 

 

 

 

 

jewelry

Location: 1251 Camino Del Sequan, m 100% of fair market vaiue, up to

Alpine CA 91901 any applicable statutory limit

Line from Schedule A/B: 12.1

Checklng: San Diego County Credit $1 117_24 - 51 1 1124 C.C.P. § 704.070

Un;ggajolnt checking account ending ’ n ’

in 100% of fair market value, up w

Line from Schedule A/B: 17.1 any applicable statutory limit

checking: ADDED: 586_42 . 386_42 c.c.P. § mauro

Wedl:s Fargo joint checking account m

en ng n 004° 100% of fair market value, up to

Line from Schedule A/B: 17.2 any applicable statutory limit

ADDED: C.C.P. § 706.050
4,211.79 s4,21 1.19

San Diego County Credit union joint s -

savings account ending in 0000 |3 100% of fair market value, up to

Line from Schedule A/B: 17.3 any applicable statutory limit

American lncome the $0_00 - $0_00 C.C.P. § 704.130

Accidental death policy lnsuring the

life of the Debtor's non-filing spouse. cl 100% affair market value, up to

NO Current cash value any applicable statutory limit

Beneliciary: Diana Jo Newby
Line from Schedule A/B: 31 .1

 

 

Scissors, blovvdryer,l curling iron and 5200 00 - 5200_00 C.C.P. § 704.060
flat iron used in debtor's business `
Line from sammie A/B: 40.1 |'J 100% of fair market value, up w

any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases liled on or after the date of adjustment.)

l No

Cl Yes. Dld you acquire the property covered by the exemption within 1 ,215 days before you filed this mse?
n No
l:| Yes

Ofticial Form 1060 Schedule C: The Property You Claim as Exempt page 2 of 2

CaSe 18-03476-LA7 Filed 06/14/18 Entered 06/15/18 15220:59 DOC 13 PQ. 14 Of 39

Fill in this information to identify your case:

Debtor 1 Diana Jo Newby
Frrst Name Middie Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United Swtes Bankruptcy Court for the: SOUTHERN DlSTR|CT OF CAL|FORNIA

 

Case number 18-03486-LA7
(if knwm) [] Check if this is an
amended filing

 

 

 

Ofticial Form 1060
Schedule D.'. creditors Who I-lavo claims Socurod by Property 12115

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct infom\ation. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
m No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
l ves Fiu in au urine information below.

List All secured claims

 

 

 

 

 

 

 

 

 

 

 

2. List all secured claims. if a_ creditor has more than one secured claim list the creditor separately f Cdu¢n A f , l Co'umnc ` '
for each claim if more than one creditor has a particular claim list the other creditors in Part 2 As _ _ Amount of claim unsound '
much as possibie, list the claims in alphabetical order awarding to the creditor s name ~ y -> ~ Do;n`ot deduct the y _ portion ~ ` >
_ valt)eotcollateral.,-, ' ` -_. lfany» ~ “
l 2. 1 l Capifal Olle AlltO Fil'ialiee Describe the property that secures the claim: $22,927.68 $24,755.00 $0.00
C'°d“‘°"=i Name 2014 Dodge Charger 72,497 miles
SRT8 Sedan 4D
do Ascension capital Location: 1251 Camino Del Sequan,
Group Alpine cA 91901
P_O_ B°x 165028 ;\p;;fme date you hie, the claim rs: Check an that
lrvmg, TX 75016 [] Comingem
Number, Street. C`liy. Stafe 3\ ZiP C°de m Unliquidated
E| Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply
- Debtor 1 only n An agreement you made (such as mortgage or secured
n Debtor 2 only ear loan)
n Debtor1 and Debtor 2 only m Statutory lien (such as tax lien, mechanic`s lien)
m At least one of the debtors and another n .iudgmerrt lien from a lawsuit
El cheek ifthis dairrr relates to a l Othe, (inc|uding a right to own purchase Money Security
community debt
Date debt was incurred Last 4 digits of account number
l 2.2 l Nations\ar Mortgage Describe the property that secures the claim: $945,433.1 1 $836,454.00 $108,979.1 1
C'°d‘*°*‘s Name 1251 Camlno Del Sequan Alpine, CA

91901 San Diego County
6 beds 3 baths 3,511 sqft
As of the date you tile, the claim is: Check all that

 

 

 

 

Po Box 619063 ap,,,y_

Da"as, Tx 75261 m C°mingent

Number\ Srreet Crv, Sme a er> Code l’_'l unliquidated

m Disputed
Who owes the debt? Check one Nature of lien. Check all that apply.
- Debtor1 only n An agreement you made (such as mortgage or secured
n Debtor 2 only say ‘Oan)
n Debtor1 and Debtor 2 only n Stalutory lien (such as tax lien, mechanic's lien)
n At least one of the debtors and another m Judgment lien from a lawsuit
n check ifthis daim relates w 8 l Other (inc[uding a right to offset) Deed of Tru$t
community debt

Ofticia| Form 1060 Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2

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Debtor 1 Diana Jo Newby Case number (if know) 18-03486-LA7
Flrst Name Middle Name Last Name
Date
openedt
1 0I2005'
Last Active:
Date debt was incurred 03/2016 Last 4 digits of account number 1 301
Aqd me adler value afyeu¢` males m column A an this page wme mar homer perez ; " :` _- $968,360.79
if this is the last page of your form, add the dollar value totals from all pages. ` ` $968 360 19
Write that number hele: ' '

 

 

 

_List others to ae Notiried for a Debt That You Aiready Lisred

`,Use\hispageonlyifyouhaveowerstobeno\iliedaboutyourbankmptcyforadebtthatyoualmadylisv.dml’art‘l Forexample, rfacollectionagencyls
.t_ryingtocollectfwmyouforadebtyouowetosomeoneelse llst\hecreditorinl’art1`,andmenlistthecolledio`nagencyhere.$in\llarly,ifyouhaven\ore ` _
fwsnonecredltorforanyofthedebismafyouhstedml’aru llsttheadditionalcredrlorshere.lfyoudonothaveaddmonalpersonswbenoufiedhrany _
`M`lsin?ar", dono¢filloutorsubrr`\itthispage. … l

m Name._Numbef, S"eefx C"fv’ S*a*e & ZiP C°de on which line in Pan 1 did you enter me crediwr? 2.2
Quallty Loan Service Corp.
41 1 lVy St. Last 4 digits of account number 49AB

San Diego, CA 92101

Ofiicial Form 1060 Additiona| Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2

CaSe 18-03476-LA7 Filed 06/14/18 Entered 06/15/18 15220:59 DOC 13 PQ. 16 Of 39

Fill in this information to identify your case:

 

 

 

Debtor 1 Diana Jo Newby

First Name Middle Name Last Name
Debtor 2
(Spouse lf, filing) First Name Middle Name Last Name

United States Bankruptcy Courf for fhe: SOUTHERN DISTR|CT OF CALIFORN|A

 

Case number 18-03486-LA7
(if known) |:] Check if this ls an

amended h|ing

 

 

Oflicia| Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible use Part 1 for creditors with PRlORlTY claims and Part 2 for creditors with NONPRlCR|TY clalms. List the other puty to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on ScheduleA/B: Property (Ol'|'icial Form 106AIB) and on
Schedule G: Executory Contr'acts and Unexpired Leases (Ofl'icial Form 1066). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditois Who Have Claims Secured by Property. lf more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. ll you have no information to report in a Part, do not tile that Part. on the top of any additional pages, write your
name and case hunter (lf known).

part 11 List All of Your FR|ORlTY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?
l Nd_ co to Part 2.

n Yes.
List All dr Your NoNPRloRirY unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?

n No. You have nothing to report in this part Subm'rl this form to the court with your other schedules

l Yes

4. List all of your nonpriorh unsecured claims in the alphabetical order of the creditor who holds each claim lf a creditor has more than one mnpriorlty
k unsecured claim list the creditor separately for each claim l=or each claim listed identify what type of claim it is Do not list claims already included in Part 1. ll more '
’ . ,tl"`an one creditor holds a particular claim list the other creditors in Part 3 if you have more than three nonpriority unsecured claims fill out the Coritinuation Page of

PartZ

141 l Capital One

Nor\priority Creditor‘s Name
FO Box 71083

Charlotlle, NC 28272-1083
Number Street City State Z|p Code

Who incurred the debt? Check one

- Debtor1 only

n Deblor 2 only

n Debtor 1 and Debtor 2 only

l:l At least erie urine debtors and another

l:l Check il' this claim is for a community
debt

ls the claim subject to offset?
i No
n Yes

Tdil claim

i.ast 4 digits of account number 2833 $1, 016. 63

when was the debt incurred? 2016

 

As of the date you tile, the claim is: Check all that apply

n Coritingent
n Unliquidated

U Disputed
Type of NQNFRlORlTY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce that you did not
report as priority claims

n Deth to pension or profit-sharing plansx and other similar debts
. other spediry Credit card purchases

 

 

Ofl'lcia| Form 106 ElF

Schedule EF: Creditors Who Have Unsecured Claims

Pagetd$

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Debtor1 Diana Jo Newby

m

Case number (lfknuw) 18-03486-|_A7

 

 

Capital One

Nonpriority Creditor's Name

PO Box 71083

Charlottle, NC 28272-1083

 

Nunber Slreel City State le Code
Who incurred the deht? Check one.

- Debtor 1 only

n Debtor 2 only

El Deuor 1 and Debtor 2 only

n At least one of the debtors and another

n Check lt this claim is for a community
debt

ls the claim subject to oll’set?
l No
n Yes

l.asr 4 digits or account number 3942 $1 ,937.77

when was me debt lncurred? 2016

 

As of the date you file, the claim is: Check all that apply

m Contingent

Cl unliquidated

C| Dlspuled

Type of NONPRK>R|TY unsecured claim:
n Student loans

n Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

n Debts to pension or proflt-sharing plans, and other similar debts
l other spe¢ry Credit card purchases

 

 

Dell Financial Services
Nonpriority Credltor's Name

PO Box 81577
Austin, TX 78708-1577

 

Number Street City State le Code

Who incurred the debt? Check one_

l Debror 1 only

m Debtor 2 only

[J Debtor1 and Debror 2 only

m At least one of the debtors and another

n Check if this claim ls for a community
debt

ls the claim subject to ollset?
- No
m Yes

Last 4 digits of account number $2!443.75

When was the debt incurred? 2013

 

As of the date you file, the claim is: Check all that apply

m Corltingent

[] unliquidated

E| olspured

Type of NONPRlORlTY unsecured claim:
n Student loans

n Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

n Debts to pension or proflt~sharing plans, and other similar debts
l ethel Specify Credit card purchases

 

 

must others w se Norlrled Abdur a Debr Thar vou Already l_lsted

5. Use this page only if you have others to be notified about your bankmptcy, for a debt that you already listed in Parts 1 or 2. For example, lt a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then listthe collection agency here. Similarly, it you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. if you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part -l.

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

  
 

 

 

 

 

 

 

 

 

type of unsecured claim.
o o Total Claim . ., ~
` ~, g 6a Domestic support obligations 6a $ 0_00
g Toral:
~» from Part 1 `~ Sb. Taxes and certain other debts you owe the government 6b $ 0_00
' ' v » ' » ~ ~ 60. Claims for death or personal injury while you were intoxicated 6c $ 0_00
6d, Other. Add all other priority unsecured claims Write that amount here. 6d. 5 0_00
6e_ Tolal Friority. Add lines 6a through 6d_ 6e. $ 0_00
.`Total Clai`rn` , j _ '_ ~
Sf. Student loans 6f_ $ 0_00
691 Obllgations arising out of a separation agreement or divorce that 0 00
you did not report as priority claims 69- $ '
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0_00
6l. :;hr;r. Add all other nonprlonty unsecured claims Write that amount Slt s 5,398_15

Offlcia| Form 106 E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Page 2 01'3

CaSe 18-03476-LA7 Filed 06/14/18 Entered 06/15/18 15220259 DOC 13 PQ. 18 Of 39

 

Debtor1 Diana Jo Newby Case number (if know) 18-03486-LA7

 

 

ej. row Nonpriomy. Add ames ef through ei. 611 s 5,398.15

 

 

 

Off\cia| Form 106 ElF Schedule ElF: Creditors Who Have Unsecured Claims Page 3 of 3

CaSe 18-03476-LA7 Filed 06/14/18 Entered 06/15/18 15220:59 DOC 13 PQ. 19 Of 39

F\`H in this information to identify your case:

Debror 1 Diana Jo Newby
First Name Mlddle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for thei SOUTHERN DISTR|CT OF CAL|FORN|A

 

Case number 18-03486-LA7
(if known) n Check if this is an
amended §ling

 

 

 

Ofticial Form 1066

Schedule G: ExecutoLy Contracts and Unexpired Leases ms

Be as complete and accurate as possible. lt two married people are filing together, both are equally responsible for supplying correct
information. lt more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
l No. Check this box and tile this form with the court with your other schedules You have nothing else to report on this form.
El Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Oflicial Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instmction booklet for more examples of executory contracts
and unexpired leases.

 

131 y ,Po¢son_or oompanymthwhom you have mo oomr'ooi or,iease',,_§ ` ;s`w'e`wha`t ive~oonti~aotor lease rs:for' ;
¢ 1- `~>: _~l~lame,tvi<.uriner.Street,~'C.i:y,S‘ia`tasar)lel=“l'.:ode.v ` v ' ` " '~ ~' ._ " ,_ :» o .

 

23

 

Name

 

Number Street

 

City State ZlP Code
2.2
Name

 

 

Number Street

 

C‘M State ZlP Code
2.3
Name

 

 

Number Street

 

C'lty State ZIP Code
2.4

Nai'i'e

 

 

Number Street

 

Cil.’y Staie ZIP Code
2.5

Name

 

 

Number Street

 

City State ZIP Code

thcial Form 1066 Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

CaSe 18-03476-LA7 Filed 06/14/18 Entered 06/15/18 15220:59 DOC 13 PQ. 20 Of 39

Flll in this information to identify your case:

Debtor1 Diana Jo Newby
l~`lrst Name Middle Name Last Name

Debtor 2
(Spouse if, nling) Flrst Name Middle Name Last Name

 

United States Barlkruptcy Court for the: SOUTHERN DlSTRiCT OF CALiFORNiA

 

Case number 18-03486-LA7

 

 

 

(lr lrncwn) n Check ifthis is an
amended hling

Ofi'lcial Form 106H

Schedule H: Your Codebtors lzns

 

Codebtiors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married
people are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page,
fill it out, and number the entries ln the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (lf you are hling a joint case, do not list either spouse as a oodebtor.

- No
U Yes

2. Wlthin the last 8 years, have you lived in a community property state or territory? (Communl'ty property states and territories include
Arizona, Caiifomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wl`sconsin.)

l No. csc tc line 3.
n ¥es. Did your spouse, fenner spouse, or legal equivalent live with you at the time?

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 1060), Schedule ElF (Official Form 106EIF), or Schedule G (Officia| Form 1066). Use Schedule D, Schedule ElF, or Schedule G to fill

 

 

 

 

 

out Column 2.
column 1 vourccdcbtcr i_=*i ' ` . ~ , j= ccnmiz Thccredilmtowhcmyouowethcdeht
lame Numper streeth sweandzlP__Codc g v j ' , ;'j " .i ’,Checkallsctledulesthatapply
13.1 l El schedule D, line
"“"“° El schedule E/F, line
El schedule G, line
Number Street
City Stale ZIP Code
l'_`l schedule D, line
Name E] Schedule E/F, line
El schedule G, line
Number Street
C'rly State ZlP Code

 

Offlcial Form 106H Schedule H; Your Codebtors Page 1 of1

Case 18-03476-LA7 Filed 06/14/18 Entered 06/15/18 15220:59 DOC 13 PQ. 21 Of 39

Debtor1 Diana Jo Newby

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF CAL|FORN|A

 

Case number 1 8-03486-LA7 Check if this is:

("k"°"") l:i An amended liling
I'J A supplement showing postpetition chapter
13 income as of the following date:

Oft”lcial Form 106| m

Schedule l: Your income 12/15

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. li you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

macon Employmem

1. Fill in your employment

 

 

 

 

 

 

information.
lf you have more than one job, l Employed ij Emp|oyed
attach a separate page with E"\P\°Ymem Sfafus -
information about additional m N°t €mP|°¥ed N°t employed
em lo ers. .

p y O¢CuPatlon Halrdresser Foreman
include part-time, seasona|, or _ _
self-employed work. Eml>lovel's name Halr a la Diana

 

°°°‘"" E'""'°’"“"“'e camino folsom
' pp ' Alpinc,cA91901

 

How long employed there? 33 years

Give Details About Monthly lncome

 

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $O in the space. include your non-ming
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below_ if you need
more space, attach a separate sheet to this forrn.

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2- dcductions). lf not paid monthly, calculate what the monthly wage would bc. 2- 3 °-°° $ 975-°°
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ 0.00
4. Calculate gross lncome. Add line 2 + line 3. 4. $ 0.00 $ 975.00

 

 

 

 

 

Off“lcial Form 1061 Schedule I: Your lncome page 1

Case 18-03476-LA7 Filed 06/14/18

Debtor 1

10`

11.

12.

13.

Diana Jo Newby

Entei’ed 06/15/18 15220:59 DOC 13 PQ. 22 Of 39

 

 

 

 

 

Case number (iI known)

1 8-03486-LA7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy line 4 here 4.
List all payroll deductions:
5a. Tax, Medicare, and Sociai Security deductions 5a. $ 0.00 $ 0.00
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ 0.00
5e. Voluntary contributions for retirement plans 56. $ 0.00 $ 0.00
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
5e. insurance 56. $ 0.00 $ 0.00
5f. Domestic support obligations 5f. $ 0.00 $ 0.00
5g. Union dues 59. $ 0.00 $ 0.00
5h. Other deductions Specify: 5h.+ $ 0.00 + $ 0.00
Add the payroll deductions Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. $ 0.00 $ 0.00
Calcuiate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $ 975.00
List all other income regularly received:
Sa. Net income from rental property and from operating a business

profession, or farm

At\ach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses and the total

monthly net income. 8a. $ 4,660.00 $ 0.00
8b. interest and dividends Bb. $ 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

lnclude alimony, spousal support, child support, maintenance divorce

settlement, and property settlement 8c $ 0.00 $ 0.00
8d. Unempioyment compensation 8d. $ 0.00 $ 0.00
8e. Social Security Be. $ 0.00 $ 0.00
8f. Other government assistance that you regularly receive

include cash assistance and the value (if known) of any non~cash assistance

that you receive, such as food stamps (beneiits under the Suppiementai

Nutrition Assistance Program) or housing subsidies

Specify: Bf. $ 0.00 $ 0.00
Bg. Pension or retirement income Sg. $ 0.00 $ 0.00
8h. Other monthly income. Specify: 8h. $ 0.00 $ 0.00
Add another income Add lines 8a+8b+8c+8d+8e+8f+89+8h. 9. $ 4,660.00 $ 0.00
Calcuiate monthly income. Add line 7 + line 9. 10. $ 4,660.00 + $ 975.00 '-` $ 5,635.00

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

 

 

 

 

 

 

State all other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your househoid, your dependents your roommates, and

other friends or relatives 4 l _
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J'.
Specify:

 

11,

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

`v`er`ite that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Reiated Data, if it

applies

Do you expect an increase or decrease within the year after you file this fonn?

l
El

No_

12.

+$ 0.00

 

 

$ 5,635.00

 

Combined
monthly income

 

Yes. Explain: L

Official Form 1061

Schedule I: Your lncome

page 2

 

 

Case 18-03476-LA7 Filed 06/14/18 Entered 06/15/18 15220259 DOC 13 PQ. 23 Of 39

Check if this is:
|:l An amended filing

m A supplement showing postpetition chapter
(Spouse, if illing) 13 expenses as of the following date:

 

 

United Statos Bankruptcy Court for the; SOUTHERN DlSTRlCT OF CAL|FORN|A . MM l DD / YYYY

 

Case number 18-03486-LA7

(if known)

 

 

 

Ofiicial Form 106J

Schedule J: Your E)g)enses ms
Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this fonn. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

l t Describe Vour Househoid
1. is this a joint case?
l No. Go to line 2.
i'_'i ves_ ones oebtor 2 live in a separate household?

m No
l:] Ves. Debtor 2 must iiie Ofiiciai Form 106J-2, Expenses for Separate Household of Deblor 2.

 

2_ Do you have dependents? I No

 

 

 

 

Do not list Debtor 1 and l_'_] Yes_ Fill out this information for Dependerrt's relationship to Dependent’s Does dependent
Debt°r 2_ each dependent .............. Debwr 1 or Debtor 2 age live with you?
M m m

Do not state the n No
dependents names. [_`] yes

m No

l:l ¥es

[] No

El Yes

[] No

cl Yes

3. Do your expenses include - N°

expenses of people other than

yourself and your dependents? m Yes

  

¢’;m 1 Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and till in the
applicable date.

!!!¢.:!l_!¢.!e expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule l: Your lncome
(Officiai Form 106|.)

 

4. The rental or home ownership expenses for your residence include tirst mortgage

payments and any rent for the ground or lot. 4- $ 2’000‘°0

if not included in line 4:

4a. Reai estate taxes 43. $ 0.00

4b. Property, homeowner’s, or renter's insurance 4b. $ 0.00

4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00

4d. Homeowner’s association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Oflicial Form 106J Schedule J: ¥our Expenses page 1

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Debtor1 DianaJoM Caemmber(iml) W
6. Utilities:
6a. Electricity,teat,natr.rratgas Sa. $ 209.@
6b. Water, sewer, garbage collection » Sb. 5 242.00
6c. Teiephone, cel phone, lntemet, satellte, and able services 6c. $ 0.00
6d. Ol:her. Specify: Pmpane 6d. $ 227.00
Soiar $ 207.00
internet $ 65.00
Cable $ 120.00
Cont $ 8.50
Waste $ 80.00
7. Food and housekeeping supplies 7. $ 500.00
8. Chi|dcare and children’s education costs 8. $ 0.00
9. Ciothing, laundry, and dry cleaning 9. $ 0.00
10. Personai care products and services 10. $ 50.00
11. Medicai and dental expenses 11. $ 0.00
12. Trans rtation. include as, maintenance, bus or train fare.
Do notpi°nciude car paymegnts. 12- $ ‘oo‘°o
13. Entertainment, ciubs, recreation, newspapers, magazines. and books 13. $ 100.00
14. Charitabie contributions and religious donations 14. $ 0.00
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 85.00
15b. Health insurance 15b. $ 543.00
15c. Vehicie insurance 15c. $ 72.00
15d. Other insurance Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
17. installment or lease payments:
17a. Car payments for Vehicie 1 17a. $ 621.00
17b. Car payments for Vehicie 2 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other_ Specify: 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule I, Your lncome (Otl'iciai Form 106|). 13- $ °'°°
19. Other payments you make to support others who do not live with you. $ 0_00
Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: your Income.
20c. Mortgages on other property 20a. $ 0.00
20b. Reai estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter's insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20c. Homeowner association or condominium dues 20e. $ 0.00
21. Other: Specify: Buslness expenses 21. +$ 2,628.67
22. Calculate your monthly expenses
22a. Add lines 4 through 21. $ 8,153.17
22b. Copy line 2'2 (monthiy expenses for Debtor 2), if any, from Oflicial Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses $ 8,158.17
23. Caicuiate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule i. 23a. $ 5,635.00
23b. Copy your monthly expenses from line 22c above_ 23b. »$ 8,158.17
23c. Subtra our onth ex enses from our monthi income.
The re;:il)t, is y:Jnur m¢;ynthl_\l/a net incomey y 23°- $ '2’523' 17

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For exampie, do you expect to finish paying for your car loan within the year or do you expect your mort@ge payment to increase or decrease because of a
modification to the terms of your mortgage?

- No.

 

El Yes. \Explain here:

Ofncia| Form 106J Schedule J: Your Expenses page 2

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Fill m this information to identify your case:
Debtor1 Diana Jo Newby
First Name Middie Name Last Name

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United S\ates Bankruptcy Coult for the: SOUTHERN DlSTR|CT OF CALlFORNiA

 

Case number 18-03486-LA7

 

 

 

(WK“°W“) |'_'] Checkifthisis an
amended filing

Ofl'iciai Form 1060ec

Declaration About an individual Debtor's Schedu|es ms

 

if two married people are filing together, both are equally responsible for supplying correct information.
You must tile this form whenever you file bankruptcy schedules or amended schedules Making a false statement concealing property, or

obwining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forrns?

-No

|:| Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Ofiiciai Form 119)

 

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and

 

 

that they true and correct _
X w 0 %¢W X
/ /

diana Jo Newby Signature of Debtor 2
Signature of Debtor 1
Date June 13, 2018 Date

 

 

thciai Form 106Dec Deciaration About an individual Debtor's Schedu|es

Case 18-03476-LA7 Filed 06/14/18 Entered 06/15/18 15220259 DOC 13 PQ. 26 Of 39

Fill in this information to identify your Case:

Debtor1 Diana Jo Newby
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF CAL|FORN|A

 

Case number 18-03486-LA7
(if known) |:| Check if this is an
amended iiling

 

 

 

Official Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 4116

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct
information. lt more space is needed, attach a separate sheet to this forrn. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Give Details About Your Marita| Status and Where You Lived Before

1. \M\at is your current marital status?

l Manied
ij Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

- No

n ¥es. List all of the places you lived in the last 3 years. Do not include where you live now`

Debtor't`PriorAddres's`: "Dates\'._>ebtor'l- DebtorZPrior'Address`:._ ` ~ :f"`;- Dates:DebtorZ `
t ~ ` `live`dthere ’ ~ t m ~ " lived`thele~. `

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Califomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

- No
n Yes. Make sure you fill out Schedule H: Your Codebtors (Oflicial Form 106H).

Explain the Sources of Your lncome

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you rece'wed from all jobs and all businessesx including part-time activities
lf you are tiling a joint case and you have income that you receive together, list it only once under Debtor 1.

U No
l Yes. Fiii in the details

 

    

`Debtori y z §::DeBtorZ ~`:}`_` ' , , >
vS¢,)urr:es _of income . ~ cross income y Sources of_incom'e ` » ~ Gross',`mcome
Ch€Ck` " an fliaf`abpiy. l b b (before deductidh€`ahd Check anith app}y. . (b`eidlede`ducfio ll8 `
_. ;_` _;.; ' exclusions)>' ,»'»' ` » ' l ` ' »and¢x¢|q$i§ns)__,
F|'°m Jamla\'y_‘l °f Current year until l:l Wages, commissions, $48,440.70 n Wages, commissions
the date you filed for bankruptcy: bonuses, tips bonuses, tips
- Operating a business n OP€lafinSl 3 business

 

Official Form 107 Statement of Flnanclal Afl'airs for lndividuals Filing tor Bankruptcy page 1

Case 18-03476-LA7 Filed 06/14/18

 

 

 

 

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Debtor1 Diana Jo Newa Case number irkn<)wn) 18-03486-LA7
.;eebw¢ ;.1_ g , _ never _. _ __. b
»Sources of income . Gross income Sources of income ‘ j . ,Gross' income , `
Check all that apply ` (before deductions and ~Check_all that _appiy>. ' » ' _`(before deductions
exciusions) , ’ 1 »~ `~ ». * band exclusions)
For last calendar year: |:| Wages, ®mmissi°ns, $1 1 ,870. 00 l Wages' commissions‘ $20, 480. 70
(January 1 to December 31, 2017 ) bonuses, tips bonuses, tips
- Operating a business i:l Operating a business
For the calendar year before that [] wages, commissions $24,000.00 . Wages, cemmissi°ns’ $31,200.00

(January 1 to December 31, 2016 ) bonuses, tips

. Operating a business

bonuses, tips

ij Operating a business

 

Did you receive any other income during this year or the two previous calendar years?

include income regardless of whether that income is taxab|e. Examples of other income are aiimony; child support; Social Security, unemployment,
and other public benoit payments; pensions; rental income; interest; dividends; money collected from iawsuits; royalties; and gambling and lottery
winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor1.

List each source and the gross income from each source separately De not include income that you listed in line 4.

- No
U Yes. Fiiiinihedeaiis.

     
     
  

 

 

7 ~ ~' '* f`:-.Debtor 2 ,. ' -
‘Sources of income Gross modine from Sources of income z Gross income ' j _
Describe below each source Describe beiow_.; ` ' (before deductions _.~
(before deductions a`rid ` *~ ` and exciusions) :»';.
exciusions`) " '

must Certain Payments ¥ou Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1's or Debtor Z's debts primarily consumer debts?
i:l No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as “incuned by an
individual priman'iy for a personai, famiiy, or household purpose."
During the 90 days before you liied for bankruptcy, did you pay any creditor a total of $6,425* or more?

El No. co w iine 7.

n Yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations such as child support and alimony, Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases tied on or after the date of adjustment

- Yes_ Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you liled for bankruptcy, did you pay any creditor a total of $600 or more?

- No. Go to line 7.

n Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony, Also, do not include payments to an
attorney for this bankruptcy case.

:Creditor‘s Narne"and Addres`s;;_» : . »Datesfof,paym"ent 'Total amount Amount you `Was_t_his payment for ’;., '_ 55
' , ~ ` § ` "` _ paid “» st`l_iiow`e. -~ . -. "
Oificia\ Form 107 Statement of Financid Affairs for individuals Filing for Bankruptcy page 2

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Debtor 1 Diana Jo Newby Case number umwa 18-03486-LA7

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your reiatives; any general partners; relatives of any general paitners; partnerships of which you are a general paitner; corporations
of which you are an oiiicer, director, person in controi, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations such as child support and

 

alimony,

- No

ij Yes. List all payments to an insider.

insider?s NameandAddress " Datesof payment 1 l Totai amount Arnountyoii -Rea`sor_if`forti"iis'payment.rfi`j'
.y'?;_ ',x=i 7 ' paid 7 stillowe . ' ’

8. W`ithin 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
include payments on debts guaranteed or cosigned by an insider.

- No

n ¥es. List ali payments to an insider

insider Name,andAddress~_:_ 551' `Datesofpaym_erit' b "`l,`otal>amo`unt Amou`ntyou Reason forthis payment »,: ,

~. ~ ;~ fix .- ,- . ' -` " ~ &paid simons include¢rediwr`sieme.
identify igal Actions,§possessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List ali such matteis, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications and contract disputes

l No

n ¥es. Fill in the details

Casetitie , ,Natureo`fthecase 'Courtor'ia`ge`ncy:'i; " , Status:of_`the`c`ase
Casenurnber ` , » ` » ` 1 ._` 7 .' r_~

10. Vifithin 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, gamished, attached, seized, or ievied?
Check all that apply and till in the details beiow.

l No.Gotoline11.

l:.] Yes. Fill in the information beiow.
credmruanieandn¢idress oescnbemerpeny 7 'Da`te~ »11f_j_-_vaiue`of~tii¢»
Ei`tplain what happened _~:-_ 1 f

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

l No

iii Yes Fiii in the details

'Cr_`editer`-NairieandAddress'¥f ,Descn`be'thea'ctiori theoreditor'took f" Dateactionwas `j`».` Amount
b __ _ ::_ . t . 1 _. b b wken ,

12. Virithin 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

- No
l'°'l v~.
hal l ed

List certain cms and contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
l No
l'.] Yes Fiii in me detaiis for each gm

.'Gift`s with atotai value ofrnore than$SDO ` ' .Des`cribe`the gifts _ Datesyougave Vaiue§

 

 

 

Per_son to Whom You Gave the Gift and
~Address

Ofl'icial Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 3

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Debwr 1 Diana Jo Newa Case number irrmwn) 18-03486-LA7

 

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
. No

[.] Yes Fill in the details for each gift or contribution_

sine or contributions ila eilanties that total  oeecrii>e what you contributed §§ ._ j l ` bates you ' '

more than$éoo contributedj' ».j;_

C_harity's _Name , ’ ~ j ~
Addless (liumii¢i. sin:at. ciry. sure and zip cdd'e)

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, tire, other disaster,
or gambling?

- No
£] Yee. Fill in the details

Describe the property you lost and Describe any insurance coverage for the loss ` Date of _your“
hour the loss occurred 7 »_

     

j _ _j Va|ue of property
inelnde"the amount that irsurance has paid Llet pending '°s'°f- , _ _ l°*.‘*;
insuranceclaimsonllrie330f$cheduleA/B Property ~ ~ " ` ' »

mist Cerwin Payments or Transfers

16. \Mthin 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attomeys, bankruptcy petition preparels, or credit counseling agencies for services required in your bankruptcy

n No
l Yee Fill in the details

   

_Peisonwhowas Paid » f »_~"»` Description and value of any property , ~e Date`payment
Ad_d'ress » ` ` transfeer s s s or transferwas
En'iailorwebsite address ` -- ` ’ = ' 5 inade '
PersonWhoMadethePayment,ifNotYou j j `r ’ --' ' , . `
Gutierrez and Associates Attomey Fees 08/61/2017
350 10th Avenue

Sulte 1049

San Diego, CA 92101
janetgutlerrezesq@gmail.com

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting ori your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or fo make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

 

. No

El Yes Fill in the details

Person Who Was Faid Description and value of any property `» Date payment ' ~` », , A_r`nount'ot
Address ' transferred j _ ,. ` ortranster was ' `-_ . ` . *payrli`ent;

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property

transferred in the ordinary course of your business or financial affairs?

lnclude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement

. No
lIl Yee Fill in the details
Person Who Rece_ived Traiisfer ' ~`_ ~ ’ Description and value of _`_ Describe a`riy property `or ' Date transfer was
Address j j ~ propertytlansferred . paymentsrecelvedordebts rnade ' .
' x . j j ’ ’ paid` in exchange
Pelson' s relationship to you ` l
Omcial Form 107

Statement of Financlal Affairs for |ndividuals Filing for Bai'lkruptr:y page 4

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Debtor1 Diana.loNeuby Casemmuw) 1843406-\$?

19. Within 10 yearsbeforeyou &ledforbankrupt:y, didyoutcarmeranypropertywaself-setmdtmstorsimiardeviceofwhich you area
beneficiary? (These are oden called aset~protecfion devices.)

 

. No
El Yes Fminthedetails

 

_LisrnrceminFm¢ialmms, moments safe oepnsir enxes, mdswrageunns

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
lnclude checking, savings, money market or other financial accounts; certificates of depom dues in banks, cred& unions, brokerage
houses, pension funds, cooperatives associations and otherfinancial institutions
- No
El Yes. Fiu in measure

NameofFrnancrallnstrtutronand ` t Last4di`gitsof " ,_ Tweofaccountor `. Dme'a`ccountw`as
Address(rrumn=c,scmc,cny enuncer accountnmnber :`:'. :mstmment ~@ ` `closed,»so`l'd,_ `:'

. ._- __ , `» _ ~ ,moved`,_or .
transferred

               

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

l No
l.'.l Yes. Fmin the details

,,,,, »,Dd_y°u`m c g ,
»;'hzvei't? 1

 

Who else had access to it? ,`Describ’e"the'contents " '
Addressmumbec sm¢c,cuy ' ’»`§-'.f.
mahdzn='cnde) " ' '

Address mcmann s¢m¢. cuy,sm ana zlP' once)

       

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

                   

- No
n Yes Fill in the details.
Name of Storage Faci_l_ity ~ Who else has or had access f`l'.'lesc'r`ibe;the contents z " ` Doj you S*i|l
ll'tddress_ (uumber. street cny, smmrzrr>_code) to it? ’ _ . ~ ~ 1 ` . . have it?
,~"`.- ` - . ._ »Address(uumber,sm¢gcny,`__ ;;` .-
stare ander cedar »_ .

   

 

ldentify Property You Hold or Contro| for Someone Else

23. Do you hold or control any property that someone else owns? lnclude any property you borrowed from, are storing for, or hold h tmst
for someone.

  

 

- No

n Yes. Fillin the details.

O_wnersName f ` ` " ’ _ Where\stheproperty? " Descrrbethepmpeffy Vame
Address¢nnmveneumcuy.sunndzlpcnd¢) Number 311“1»¢"¥ 5*31"'"=!2'? » . ’ " . " " ~” ’1.~~"»;`~`

 

Codo)

Give Details About Environmental information

 

For the purpose of Part 10, the following definitions apply:

Environmental law means any federa|, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soi|, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous mamrial means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutantl contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

Omcial Form 107 Statement of Financial Affalrs for lndlviduals Filing for Bankruptcy page 5

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Debtor1 Diana Jo Newby Case numberiikwwn) 18-03486-LA7

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    

- No

El Yes. Fiiiin me detaiis.

Nai`ii`e`ofsite ~ ': ~ ` ~' ~ Govemmentaiumt ' ' ’ “ Environmentallaw, ifyou 'E:lété»ofiiot`ice~=
Address (iiucahec stmt, city sweanazircnae) k Address (iiccccinnc, sneer,ciiy maria know it - v -_ ;

ZiP Code)

25. Have you notified any governmental unit of any release of hazardous materiai?

 

. No
n Yes. Fill in the detaiis.
Name of site ’ ’ ' Goverrimentai unit .j - ' Environrneritai law. if you . '
Address running street ciiy`. sm anazii" conn :» Address mcmann scant city swain know it ~
_ _ _ ~ zii=cnaa) ,

 

26. Have you been a party iri any judicial or administrative proceeding under any environmental law? include settlements and orders.

- No
n Yes. Fill intiie detaiis.

Name

Address` ruumbnc since ciiy,
stare ana ziP coney

Courtoragency »N'atureof__thecase Statusofthe

       

nPraW:'z i 1_; _ Give Details About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
- A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (L.LF)
n A partner in a partnership
n An offioer, director, or managing executive of a corporation
n An owner of at least 5% of the voting or equity securities of a corporation
n No. None of the above applies. Go to Part 12.

- ¥es. Check all that apply above and fill in the details below for each business.
Bus`iness Name Describe the nature of the bnsiness Erripioyer identification number `

    

Addregs , , '. y Do not include Sociai Security nu
’(iicccciiiec. Srieet. Clu. _ 1 Name of accountant or bookkeeper 1
-, b .r ` .- :Datesbusinessexisted
l-iair a ia Diana Halr styli$t E'"=
1251 camino nol sequan
Aipine, cA 919013047 F'°'“'T° 198"‘"¢$°"'

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

l No

n Yes. Fill' in the details below.

flame ' t . Date_lssr`i*e`d*'~- 1 " '
(icuccinecsueet,cliysmeandziecoeei

Olficiai Form 107 Statement of Fiiianciai Affairs for individuals Filing for Bankruptcy page 6

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Debtor1 Dlana Jo Newby Case number <m<iwn) 18-03486-LA7

 

Sign Below

l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the answers

are true and conect. i understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. 152, 1341, 1519, and 3571.

   
 
       

 

 

Dia why Signatu re of Debtor 2
Signature of Debtor 1
Date Jul'ie 1 3, 2018 Date

 

 

Did you attach additional pages to your Statement of Financlal Affairs for Individuais Filing for Bankruptcy (ofiicial Form 101)?
- No

U Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy fonns?

- No

n Yes. Name of Person . Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signatura (Ofticial Form 119).

mclai Form 107 Statement of Financial Afialrs for individuals Filing for Bankruptcy page 1

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Fi|i in this information lO identify your case:

Debtor1 Dlana Jo Newby
First Name Middle Name Last Name

Debtor 2
(Spouse ii, fliing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF CALIFORN|A

 

Case number 18-03486-LA7

 

 

 

(‘"“W“) l |_`_| Checkifthisisan
amended hling

Ofiicial Form 108

Statement of intention for individuals Filing Under Chapter 7 ms

 

if you are an individual filing under chapter 7, you must fill out this form if:
l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earller, unless the court extends the time for cause_ You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in ajoint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the fonn.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditor's Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Pmperty (Officiai Form 1060), fill in the
. fo .

    

 

 

 

 

Creditor's l:.l Surrender the property. n N°
name: n Retain the property and redeem it.

E] Retain the property and enter into a n Yes
Description of Reatiirmation Agreement.
property E] Retain the property and [explain]:
securing debt:
Creditor's I:l Surrender the property. m NO
name: l:l Retain the property and redeem it.

m Retain the properly and enter into a n Yes
Description of Reatiirmation Agraement
property \'_'l Retain the property and [explain]:
securing debt
Creditor's U Surrender the property. g N°
name: EI Retain the property and redeem it.

EI Retain the property and enter into a n Yes
Description of Reaffirmation Agreement
property [] Retain the property and [explain]:

secuan debt:

 

 

Creditor's n Surrender the property. n N°

Ofiicial Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

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Debtor 1 Diana Jo Newby Case number (ifkww») 18-03486-LA7
namel n Retain the property and redeem it. \:\ Yes
_ ` E\ Retain the property and enter into a
Descnptron of Reaflinnalion Agreement.
Property n Retain the property and [explain]:

securing debt:

 

 

 

List Your Unexpired Personal Property Leases

 

For any unexpired personal property lease that you listed rn Schedule G: Executory Contracts and Unexpired Leases (Oft'rcial Form 1066), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still m effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the tnrstee does not assume it. 11 U.S.C. § 365(p)(2).

 

Lessor's name:
Description of leased
Property:

Lessor‘s name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor‘s name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Descn`ption of leased

Property:

Lessor's name:
Description of leased
Property:

msign Below

l:lNo

Ei Yes
[] No
iii Yes
L'_l Nn
iIi Yes
l'_°i No
Ei Yes
ill No
Ei Yes
ill No
El Yes

UNo

U Yes

 

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any personal

property that

 
  
   

Dia

ubject to an unexpired lease.

X

 

 

ewi§y
Signature of Debtor1

/’ / Slgnature of Debtor 2

Date June 13, 2018 care

 

Oliicia| Form 108

 

Statement of intention for individuals Filing Under Chapter 7 page 2

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B 201B [07/08/13]

Name, Address, Telephone No. & I.D. NO.

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA
325 West "F" Street, San Diego, Califorriia 92101-6991

In Re

a JoN wb
m na e y BANKRUPTCY No. 18-03486-LA7

Debtor.

CERTIFICATION OF NOTICE TO CONSUMER DEB'I`OR(S)
UNDER § 342(b) OF THE BANKRUPTCY CODE

Certification of Debtor
I (Wc), the debtor(s), affirm that l (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy

Code.
Diana Jo Newby X /// M%/A June 13, 2018

Printed Name(s) of Debtor(s) Signaturs of Debt()r Date

 

 

Case Nn. (if rmnwn) la-osaas-LAr X
Signatmc of Joint Debtor (if any) Date

 

Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by ll U.S.C. § 342(b) only ifthe certification has NOT been made on the
Voluntary Petiu'on, Oil`\ciai Form B l. Exhibit B on page 2 of Form Bi contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarau`ons made by debtors and bankruptcy petition preparch on page 3 of Form Bl also include this certification

BZOIB

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CSD 1008 [08/21/00]
Name, Address, Te}_ephi:ine No. a I.D. No.

 

m m m CQURT
SOUTHERN DISTRICT OF CALIFORNIA
325 West "F" Street, San Diego, California 92101-6991

 

In Re

na Jo N w
ma e by BANKRUPTCY No. 18-03486-LA7

Debtor .

 

 

VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

l New petition fried creditor diskeue required TOTAL No. or cREr)rroRs; 5
n Conversion filed on . See instructions on reverse side.
n Former Chapter 13 converting Creditor diskette required. TOTAL NO. OF CREDl'I`ORS:

l:i Post-petition creditors added. Scannable matrix required
n There are no post-petition creditors No matrix required

U Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule ofDebts and/or Schedule of
Equit.y Security Holders. See instructions on reverse side.
n Names and addresses are being ADDED.
l:i Names and addresses are being DELETED.
n Names and addresses are being CORRECTED.

PART II (check one):

- The above-named Debtor(s) hereby verit`ies that the list of creditors is true and correct to the best of my (our) knowledge

n The above-named Debtor(s) hereby ven`fies that there are no post-petition creditors affected by the filing of the conversion of this case and that
the filing of a matrix is not required

Date: June 13, 2018

 

 

Diana Jo Newby / ' y
Sigriature of Debtor

REFER TC INSTRUCTIONS ON REVERSE SIDE
CSD 1008

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csc 1003 wage 2) roa/zi/ou]

 

INSTRUCTIONS
l) Full compliance with Sj§cial Requiremeuts for Mailing Addmcsec (CSD 1007) is required.
2) A cre&tois matrix with Veritication is reqiired wheneverthe following occurs:

a) A new petition is filed. Diskette required

b). A case is converted on or alter SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition credimrs.)

c) An amendment to a case on or after SEP'I'EMBER 1, 2000, which adds, deletes or changes creditor address information on the
debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required

3) The scannable matrix must be originally typed or printed. lt may not be a copy.
4) CONVERSIONS:

a) When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
mailing matrix at the time of filing and accompanied by a Verification. Diskctte required.

b) For Chapter 7, ll, or 12 cases converted on or after SEPTEMBER l, 2000, only mst~Etition creditors need be listed on the
mailing matrix The matrix and Verification must be filed with the post-petition schedule ot` debts and/or schedule of equity
security holders lfthcrc are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5) AMENDM'ENTS AN'D BALANCE OF SCHEDULES:

a) Scarinable matrix format reg\_iired.

b) The matrix with Veritication is a document separate from the amended schedules and may not be used to substitute for any
portion of the schedules IT MUST BE SUBMITTED WI'I`H THE AMENDMEN'I`/BALANCE OF SCHEDULES.

c) Prepare a separate page for each type of change requ ired: ADDED, DELETED, or CORRECTED. On the REVERSE side of
each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
on the same page in alphabetical order.

6) Please refer to CSD 1007 for additional information on how to avoid matrix-related problems

CSD 1008

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HB 201A (07.~"13) f m

   

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFGRNIA

NOTICE TO CONSUMER DEB'I`OR(S) UNDER § 342(b)
OF THE BANKRUPTCY CODE

ln accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (l) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attomey Geneml
may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition Court employees cannot give you legal advice

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition In order to ensure that
you receive information about events concerning your case, Bankruptcy Rulc 4002 requires that you notify the court of any changes in
your address If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices

I. Services Available from Credit Counseligg§.gc_ncies

 

Witli limited exceptions, § 109(h) ot' the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis The briefing must be given within 180 days before the bankruptcy filing The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the lntemet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator The
clerk of the bankruptcy court has a list that you may consult of thc approved budget and credit counseling agencies Each debtor in a
joint case must complete the briefing

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge The clerk also has a list of approved financial management
instructional courses Each debtor in a joint case must complete the course

2. The F our Chapters of the Bankruptcy_(fode Available to Individual Consumer Debtor's

Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)

Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts
Debtors whose debts arc primarily consumer debts are subject to a "means test" designed to determine whether the case
should bc permitted to proceed under chapter 7. lf your income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy adrninistrator), the trustee, or creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. lt is up to the court
to decide whether the case should be dismissed

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student Ioans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations most fines, penalties forfeitures and criminal restitution obligations', certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a Willful
and malicious injury, the bankruptcy court may determine that the debt is not discharged

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Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular lncome ($235 filing fee,
$75 administrative fee: Total Fee $310)

Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors The court must approve your plan before it can take effect

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers', certain debts for acts that caused death or personal injury; and certain long term seemed obligations

Chapter ll: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)

Chapter ll is designed for the reorganization of a business but is also available to consumer debtors Its
provisions are quite complicated, and any decision by an individual to file a chapter ll petition should be reviewed with
an attorney

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13, The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation

3. Bankruptcy Crimes and Availability of BankriMcLPapers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection With a bankruptcy case is subject to a fine, impiisonment, or both_ All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Tiustee, the Office of the United States Attorney, and other components and employees of the Depar‘lment of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors
assets, liabilities income, expenses and general financial condition Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court The
documents and the deadlines for filing them are listed on Form BZOO, which is posted at
hg)://www.uscourtsgov/bkforms/bankruptcv fonns.htrnl#procedure.

